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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF KENTUCKY
                             COVINGTON DIVISION

DISCOUNT HOME FURNISHINGS, INC.,                   )
                                                   )
                             Plaintiff,            )       Case No.
                                                   )
              v.                                   )
                                                   )
WAYFAIR LLC                                        )
                                                   )       JURY TRIAL DEMANDED
                             Defendant.            )

               COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       Plaintiff Discount Home Furnishings, Inc. (“DHF”) brings this Complaint against

Defendant Wayfair LLC (“Wayfair”), and alleges as follows:

                                          THE PARTIES

       1.     DHF is a Kentucky corporation having a principal place of business at 3031 Loretto

Road, Springfield, Kentucky 40069. DHF distributes and sells cabinet hardware and other home

goods. DHF operates the website www.discounthomefurnishings.com, where it sells its cabinet

hardware and other home goods.

       2.     Upon information and belief, Wayfair is a Delaware limited liability corporation

having a principal place of business at 4 Copley Place, 7th Floor, Boston, Massachusetts 02116.

       3.     Upon information and belief, Wayfair maintains a physical presence in this judicial

district at 1600 Donaldson Hwy, Erlanger, KY 41018 and at 5101 Renegade Way, Florence,

Kentucky 41042.

       4.     Upon information and belief, Wayfair is an e-commerce company that sells home

goods through various websites, including but not limited to, the following: www.wayfair.com;

www.jossandmain.com; www.allmodern.com; www.birchlane.com; and www.perigold.com (“the



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Wayfair Sites”). Upon information and belief, Wayfair conducts business throughout the United

States, including in the Commonwealth of Kentucky, and in this judicial district.

                                      JURISDICTION AND VENUE

        5.      This is an action for trademark infringement in violation of Section 32 of the

Lanham Act, 15 U.S.C. § 1114; trademark infringement and unfair competition in violation of

Section 43 of the Lanham Act, 15 U.S.C. § 1125(a); and trademark infringement and unfair

competition in violation of the common law of the Commonwealth of Kentucky.

        6.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§ 1331 and 28 U.S.C § 1338. This Court has jurisdiction over DHF’s related common law claims

under 28 U.S.C. §§ 1367 and 1338(b), since the claims arise from the same operative facts or are

otherwise so related to the Lanham Act claims that they form part of the same case or controversy.

        7.      This Court has personal jurisdiction over Wayfair, because, as set forth more fully

below, a substantial part of the acts or omissions giving rise to DHF’s claims in this matter occurred

in this judicial district and Wayfair maintains a physical presence and does business in this judicial

district.

        8.      Venue is proper in this judicial district pursuant to 28 U.S.C § 1391 because, as set

forth more fully below, a substantial part of the events or omissions giving rise to DHF’s claims

in this matter occurred in this judicial district and Wayfair maintains a physical presence and does

business in this judicial district.

                               STATEMENT OF RELEVANT FATS

                          DHF and its rights in its COSMAS Trademark

        9.      DHF distributes and sells cabinet hardware, as well as ceiling fans, lighting, door

hardware, and bathroom hardware.



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       10.     DHF is a Kentucky success story. The business started in 2006, as the brainchild of

Travis Smith and Joseph “Jodie” Smith, Jr., and first operated out of a one car garage as “Cabinet

Hardware and Everything Else.” After working full time at their day jobs at a family-owned custom

cabinet company, Travis and Jodie would go to the garage at night and on weekends to package

and sell discounted cabinet hardware on eBay. It was a two-man show with one person packaging

the orders for shipment and the other on the computer printing the shipping labels and managing

postings.

       11.     That business thrived and soon outgrew its one car garage. In 2007, the business

moved into new and larger space and more family members joined the business. Also in 2007, the

business acquired the domain names cabinethardware4less.com and cabinethardwareforless.com,

where it started selling cabinet hardware online.

       12.     In January 2008, Discount Home Furnishings, Inc. was incorporated in Kentucky.

       13.     By the end of 2008, the custom cabinet company closed, and all the effort was

devoted to DHF, as the company moved into the old cabinet company space and DHF continued

to grow.

       14.     In 2010, DHF decided to launch its own brand of cabinet hardware to offer for sale

online to better compete in the national marketplace. DHF settled on COSMAS as the name for

its new brand, which started with 30 SKUs and has only grown from there.

       15.     DHF is the nationwide owner of the trademark COSMAS® for use on or in

connection with cabinet hardware, namely, knobs, handles, drawer pulls, cabinet hinges, and

switch plates of non-precious metal, metal lockets, metal robe hooks, and bath accessories.

       16.     DHF has been using its mark COSMAS since at least as early as July 22, 2010, and

owns a federal registration issued by the United States Patent and Trademark Office (“USPTO”)



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for the trademark COSMAS, namely, U.S. Registration No. 3,898,190, for use in connection with

cabinet hardware, namely, knobs, handles, drawer pulls, cabinet hinges, and switch plates of non-

precious metal. This registration matured from U.S. Application Serial No. 85/002,330, which was

filed by DHF on March 30, 2010. DHF also owns a federal registration for the mark COSMAS for

use in connection with metal lockets, metal robe hooks, and bath accessories, namely, cup holders,

soap dishes, soap dispensers, toilet tissue holders, toilet roll holders, toilet tissue dispensers,

toothbrush holders, towel rails and rings, and wall soap dispensers, which was assigned U.S.

Registration No. 4,449,840. U.S. Registration No. 3,898,190 and 4,449,840 shall collectively be

referred to as “the COSMAS Registrations.” The COSMAS Registrations are valid, subsisting in

full force, and registered on the Principal Register of the USPTO. Furthermore, the COSMAS

Registrations are incontestable pursuant to Section 15 of the Lanham Act, 15 U.S.C. § 1065. True

and accurate copies of the COSMAS Registrations are attached as Exhibit A.

       17.     DHF’s COSMAS mark has been extensively and continuously used, advertised,

and promoted by DHF in connection with its cabinet hardware across the United States since at

least as early as 2010. DHF’s COSMAS mark has been extensively and continuously used,

advertised, and promoted by DHF in connection with its bath accessories across the United States

since at least as early as 2012. Substantial time, effort, and money have been expended over the

years in ensuring that the purchasing public associates the mark COSMAS exclusively with DHF.

       18.     Wayfair is not authorized to use the mark COSMAS, and Wayfair is not authorized

to advertise products sold on the Wayfair Sites under DHF’s COSMAS mark.

       19.     Wayfair is not affiliated in any way with DHF or DHF’s business.

       20.     Upon information and belief, Wayfair is a competitor of DHF, as both sell cabinet

hardware and other home goods online.



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       21.     Upon information and belief, Wayfair allows consumers to purchase home goods

on the Wayfair Sites, and such products offered on the Wayfair Sites include products distributed

and sold online by DHF, including but not limited to cabinet hardware, bath accessories, ceiling

fans, lighting, faucets, and jewelry racks.

                            Wayfair’s Use of DHF’s COSMAS Trademark

       22.     Upon information and belief, the software code in the Wayfair Sites used DHF’s

valuable trademark COSMAS in such a manner that when a consumer commenced a search for

“cosmas” on the Wayfair Sites, consumers were invited to choose various dropdown options

including “cosmas cabinet pulls,” “cosmas cabinet pulls in Cabinet and Drawer Pulls,” “cosmas

cabinet hardware,’ and “cosmas bar stool.” An example of when a consumer commenced a search

for “cosmas” on www.wayfair.com is shown below:




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       23.    Upon information and belief, the software code in the Wayfair Sites used DHF’s

valuable trademark COSMAS in such a manner that when a consumer searched “cosmas” on the

Wayfair Sites, search results for “cosmos” populated and cabinet hardware sold by competitors to

DHF resulted. An example of search results when a consumer searched “cosmas” on

www.wayfair.com is shown below:




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       24.    Upon information and belief, the software code in the Wayfair Sites used and

continues to use DHF’s valuable trademark COSMAS in such a manner that when consumer

search for a near misspelling of COSMAS in connection with cabinet pulls, the Wayfair Sites

generate search results for cabinet pulls sold by competitors of DHF. This indicates that the

software code in the Wayfair Sites uses DHF’s valuable trademark COSMAS in such a way that



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when a near misspelling of the mark is searched, competing products result, rather than no results.

Examples of search results for “cosmos cabinet pulls” on www.wayfair.com are shown below:




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       25.    As demonstrated by the images above, the search results when a consumer searches

“cosmos cabinet pulls” on www.wayfair.com display numerous items of competing cabinet

hardware, but no genuine COSMAS cabinet hardware. Consumers are redirected to view and likely

purchase a competing cabinet hardware product.

       26.    As demonstrated by the images above and upon information and belief, Wayfair

coded the Wayfair Sites such that cabinet hardware would result whenever “cosmas” or the near

misspelling “cosmos” was searched by a consumer, indicating that Wayfair intentionally used and




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continues to use the intentional misspelling “cosmos” in the coding of the searching function of

the Wayfair Sites.

       27.     As demonstrated by the images above and upon information and belief, consumers

who searched the Wayfair Sites looking for DHF’s COSMAS branded products were ultimately

redirected to other products sold by Wayfair, a classic bait and switch.

       28.     As demonstrated by the images above and upon information and belief, consumers

who misspelled “COSMAS” when searching DHF’s COSMAS branded cabinet pulls were

ultimately redirected to competing cabinet pulls sold on the Wayfair Sites, a classic bait and switch

that results in lost sales for DHF and additional profits for Wayfair.

        Wayfair’s Infringement of COSMAS Through Google AdWords Advertising

       29.     Upon information and belief, Wayfair advertises the Wayfair Sites through the

Google AdWords program. Upon information and belief, Wayfair purchased DHF’s COSMAS

trademark as a search engine keyword from Google. When a consumer searched “cosmas cabinet

pulls” and “cosmas cabinet hardware” on Google, advertisements for Wayfair and

www.wayfair.com populated, with the word “Ad” beside it, indicating that Wayfair purchased the

“cosmas” keyword as part of Google’s AdWords program. Examples of these advertisements are

shown below:




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       30.     As demonstrated by the images above, advertisements for Wayfair and one of the

Wayfair Sites included DHF’s valuable COSMAS trademark in the Google search result, as

indicated by the word “Ad” in the box to the left of the search result.

       31.     Upon information and belief, ads only appear in search results when they are

triggered by searches of certain keywords. Therefore, since Wayfair’s advertisements for one of

the Wayfair Sites populates from Google searches of “cosmas cabinet pulls” and “cosmas cabinet

hardware,” it is clear that Wayfair purchased DHF’s COSMAS mark as a keyword.

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       32.     The purchase of COSMAS as a keyword by Wayfair and the use of DHF’s

COSMAS mark in ad text constitutes intentional infringement of DHF’s valuable COSMAS mark.

Wayfair intentionally took its advertising strategy a step too far by running multiple different

advertisements using DHF’s trademark, as evidenced above.

       33.     Wayfair intentionally advertised its business through text that prominently displays

DHF’s valuable COSMAS trademark.

       34.     Wayfair’s unauthorized use of the COSMAS mark likely resulted in consumer

confusion, with consumers believing that DHF’s goods sold under the COSMAS mark are sold on

the Wayfair Sites or that Wayfair’s business is somehow affiliated with or sponsored by DHF.

       35.     After DHF adopted and established its strong and valuable trademark rights,

Wayfair, without the permission or authorization of DHF, used DHF’s COSMAS mark in a manner

that was and is likely to confuse customers as to (1) the nature of the relationship between Wayfair

and DHF and (2) DHF’s approval of Wayfair selling DHF COSMAS cabinet hardware. Wayfair

used DHF’s COSMAS mark to attract customers to the Wayfair Sites to sell products in a manner

that falsely suggests and implies to consumers that Wayfair is somehow affiliated with or

sponsored by DHF.

       36.     Wayfair also used DHF’s COSMAS mark and the intentional misspelling of DHF’s

COSMAS mark “cosmos” to attract customers to the Wayfair Sites for the purpose of selling

competing products instead of genuine DHF COSMAS cabinet hardware, a classic bait and switch.

Consumers who searched “cosmas cabinet pulls” or “cosmas cabinet hardware” and saw the

Wayfair ad with the mark COSMAS may have clicked the ad looking for COSMAS cabinet

hardware only to be redirected to competing cabinet hardware. Likewise, consumers who search

“cosmos cabinet pulls” on the Wayfair Sites and are presented with results of competing hardware



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may click on the competing hardware. It is likely that some of these customers purchased or will

purchase competing cabinet hardware from the Wayfair Sites, resulting in lost sales to DHF and

additional profits for Wayfair.

       37.     As a result of Wayfair’s actions, the relevant consuming public was likely confused

and is likely to be confused, mistaken, and deceived into wrongfully associating Wayfair’s

business with DHF, believing that Wayfair sells genuine DHF COSMAS cabinet pulls or that DHF

somehow authorizes, approves, or sponsors or is otherwise affiliated with Wayfair’s business or

the Wayfair Sites.

       38.     As a result of Wayfair’s actions and use of an intentional misspelling of DHF’s

valuable COSMAS mark, the relevant consuming public is likely to purchase products that

compete with DHF’s genuine COSMAS cabinet hardware, resulting in harm and lost sales to DHF.

             Wayfair’s Intentional Infringement of DHF’s COSMAS Trademark

       39.     Because of DHF’s long, extensive, and substantially exclusive use of the mark DHF

in connection with cabinet hardware and DHF’s prominence in the cabinet hardware industry,

Wayfair was aware of and had actual notice and knowledge of DHF’s trademark rights in

COSMAS prior to Wayfair’s use of the COSMAS mark in advertising.

       40.     On September 14, 2017, November 2, 2017, February 9, 2018, and February 21,

2018, Wayfair contacted DHF to discuss the possibility of a partnership between DHF and

Wayfair. More specifically, these communications from Wayfair to DHF inquired about the

possibility of adding COSMAS hardware to the Wayfair Site, which demonstrates Wayfair’s

knowledge of DHF’s rights in its COSMAS mark. Copies of these communications are attached

hereto as Exhibit B.




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       41.     Additionally, DHF communicated its rights in the COSMAS mark to Wayfair when

DHF’s counsel sent Wayfair a cease and desist letter on July 11, 2019, demanding that Wayfair

cease all use of DHF’s valuable COSMAS trademark in advertising. A copy of this letter is

attached hereto as Exhibit C.

       42.     Receiving an inadequate response and seeing inadequate action taken by Wayfair,

DHF sent Wayfair a second cease and desist letter on August 5, 2019, once again demanding that

Wayfair cease all use of DHF’s COSMAS mark in advertising. A copy of this letter is attached

hereto as Exhibit D.

       43.     In DHF’s letter dated August 5, 2019, DHF advised Wayfair that DHF was aware

that searches on all of the Wayfair Sites employed the same search strategy and algorithm and

whenever a consumer searched for “cosmas”, a variety of drawer pulls and cabinet hardware

populated in the search results of the page, none of which were DHF products.

       44.     Despite DHF’s two cease and desist letters to Wayfair, the software code in the

Wayfair Sites still uses an intentional misspelling of DHF’s valuable trademark COSMAS

“cosmos” in such a manner that when a consumer searches for the intentional misspelling

“cosmos”, the Wayfair Sites generate search results for competing home goods. This indicates that

the software code in the Wayfair Sites uses the intentional misspelling of DHF’s valuable

trademark “cosmos” in such a way that when “cosmos” is searched, competing home goods result,

rather than no results at all. Examples of search results when a consumer searches “cosmos” on

the Wayfair Sites are shown below:




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       45.     Wayfair’s continued use of the intentional misspelling of DHF’s COSMAS mark

in advertising constitutes a violation of DHF’s rights wantonly, willfully, and in bad faith.




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       46.     As a result of Wayfair’s actions, the relevant consuming public is being redirected

to purchase a competing home product through the search of a near misspelling of DHF’s valuable

COSMAS mark, resulting in additional profit for Wayfair and lost sales and profits for DHF.

       47.     As a result of Wayfair’s unlawful conduct, false representations, and unfair

practices, DHF has suffered and continues to suffer substantial damages and lost sales. Wayfair’s

aforesaid acts have injured DHF’s goodwill, business reputation, and valuable intellectual

property. Wayfair’s unlawful conduct allows Wayfair to continue to unlawfully profit from use of

DHF’s COSMAS trademark.

                                       COUNT I
                  (Trademark Infringement In Violation of 15 U.S.C. § 1114)

       48.     DHF repeats and re-alleges the allegations in the foregoing paragraphs of this

Complaint as if fully set forth herein.

       49.     DHF owns the mark COSMAS in connection with cabinet hardware, namely,

knobs, handles, drawer pulls, cabinet hinges, and switch plates of non-precious metal and bath

accessories, which is the subject of two valid and enforceable federal and incontestable

registrations. The COSMAS Registrations are in full force and effect.

       50.     DHF commenced use of the mark COSMAS prior to Wayfair’s use of COSMAS

in connection with cabinet pulls and advertisement and sale of home furnishings.

       51.     Wayfair’s unauthorized use of COSMAS and intentional misspelling of COSMAS

in connection with keyword advertising and internal searching on the Wayfair Sites as alleged

herein is likely to deceive, mislead, and confuse the relevant public.

       52.     Wayfair’s actions constitute trademark infringement in violation of 15 U.S.C.

§ 1114.




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       53.     Upon information and belief, Wayfair’s actions were taken with full knowledge of

DHF’s prior rights in the COSMAS Mark. Wayfair’s aforesaid acts were conducted deliberately

and willfully and with the intention of causing confusion, mistake, or deception, making this an

exceptional case and entitling DHF to recover additional treble damages and reasonable attorneys’

fees pursuant to 15 U.S.C. § 1117.

       54.     By reason of all the foregoing, DHF has been irreparably damaged by Wayfair’s

willful, unauthorized use of the COSMAS mark and an intentional misspelling of the COSMAS

mark in the manner set forth above and will continue to be damaged unless Wayfair is enjoined

from using COSMAS and all intentional misspellings of COSMAS in keyword advertising, in

tags, and on Wayfair’s Site.

       55.     DHF is entitled to injunctive relief under 15 U.S.C. § 1116, as there is no adequate

remedy at law for the damage to DHF’s goodwill, reputation, and business interests caused by

Wayfair’s infringement of DHF’s registered mark COSMAS.

       56.     In addition to injunctive relief, DHF is entitled to all damages it has sustained in an

amount to be determined at trial including but not limited to three times Wayfair’s profits and

gains as a result of its trademark infringement, attorneys’ fees, and costs of this action.

                                     COUNT TWO
      (Unfair Competition and False Designation of Origin under 15 U.S.C. § 1125(a))

       57.       DHF repeats and re-alleges the allegations in the foregoing paragraphs of this

Complaint as if fully set forth herein.

       58.     DHF’s mark COSMAS as used in connection with cabinet hardware is a distinctive

mark that has become exclusively associated with DHF through continuous, extensive, and

widespread use of the mark in the advertisement, promotion, and sale of DHF’s cabinet hardware

over the past nine years. As a result, the mark COSMAS exclusively identifies DHF’s cabinet


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hardware, as further evidenced by DHF’s incontestable federal trademark registration for the mark

COSMAS.

       59.     Wayfair has used in commerce, without DHF’s consent, DHF’s valuable mark

COSMAS and an intentional misspelling of COSMAS in advertisement of goods sold on the

Wayfair Sites, which are highly similar – if not identical – to the goods offered by DHF under its

valuable COSMAS mark. Wayfair continues to use in commerce, without DHF’s consent, an

intentional misspelling of COSMAS in connection with internal searching on the Wayfair Sites in

an attempt to profit by redirecting consumers to products sold on the Wayfair Sites. Wayfair’s use

of a trademark that is confusingly similar to DHF’s COSMAS trademark is likely to cause

confusion, or to cause mistake, or to deceive as the affiliation, connection, or association of

Wayfair with DHF, or as to the origin, sponsorship, or approval of the goods sold on the Wayfair

Sites by DHF in violation of 15 U.S.C. § 1125(a).

       60.     By reason of Wayfair’s wrongful use of the COSMAS mark and the intentional

misspelling of COSMAS in connection with the Wayfair Sites and keyword advertising for the

Wayfair Sites, customers and prospective customers of the goods sold on Wayfair’s Sites are

deceptively likely to believe that the goods sold on Wayfair’s Sites are genuine DHF cabinet

hardware or that the good sold on Wayfair’s Site are somehow affiliated, connected, associated,

sponsored, or otherwise approved by DHF, when, in fact, DHF does not sell products on the

Wayfair Sites and DHF has no connection or affiliation whatsoever with Wayfair.

       61.     Wayfair’s use of an intentional misspelling of DHF’s COSMAS mark in an attempt

to profit from the sale of competing home goods constitutes unfair competition in violation of 15

U.S.C. § 1125(a).




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       62.     Wayfair’s unauthorized use in commerce of the COSMAS mark and the intentional

misspelling of COSMAS constitutes unfair competition, passing off and false designation of

origin, which is likely to cause confusion, or to cause mistake, or to deceive consumers as to the

source of the goods sold on the Wayfair Sites, as well as to the affiliation, connection, or

association of Wayfair with DHF in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §

1125(a).

       63.     Wayfair’s aforesaid acts were done with knowledge and in willful disregard of

DHF’s exclusive rights in its valuable COSMAS mark. Wayfair’s acts have caused Wayfair to

profit and have injured and continue to injure DHF in an amount of damages to be proven at trial.

       64.     DHF has been irreparably damaged and is continuing to be irreparably damaged by

Wayfair’s willful infringement of DHF’s valuable COSMAS mark, for which DHF has no

adequate remedy at law. DHF is entitled under 15 U.S.C. § 1116 to an injunction against Wayfair’s

continued infringement.

       65.     Upon information and belief, Defendant’s actions were taken deliberately and

willfully and with the intention of causing confusion, mistake, or deception, and making this an

exceptional case, and entitling DHF to recover additional treble damages and reasonable attorneys’

fees pursuant to 15 U.S.C. § 1117.

                                     COUNT THREE
                  (Trademark Infringement Under Kentucky Common Law)

       66.     DHF repeats and re-alleges the allegations in the foregoing paragraphs of this

Complaint as if fully set forth herein.

       67.     DHF has advertised and promoted its cabinet hardware under the mark COSMAS

in the Commonwealth of Kentucky and in this District.




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        68.     DHF owns all right, title, and interest in and to the COSMAS mark and the goodwill

associated therewith in connection with cabinet hardware, including all common law rights in the

COSMAS Mark.

        69.     Despite its knowledge of DHF’s rights in the COSMAS mark, Wayfair has used

and continues to use the COSMAS mark and near variants in connection with advertising and in

the software code on the Wayfair Sites throughout the United States, including in Kentucky.

        70.     Wayfair’s acts constitute common law trademark infringement in violation of the

common law of Kentucky, and Wayfair’s acts have created and continue to create a likelihood of

confusion among consumers.

        71.     The aforesaid acts by Wayfair were with knowledge and in willful disregard of

DHF’s rights in its COSMAS mark. Wayfair’s acts have injured DHF in an amount of damages to

be proven at trial.

        72.     Wayfair’s acts of trademark infringement have caused and will continue to cause

financial damage to DHF and irreparable injury for which DHF has no adequate remedy at law.

Wayfair’s acts have irreparably harmed DHF and will continue to harm DHF unless enjoined by

this Court.

                                        COUNT FOUR
                      (Unfair Competition Under Kentucky Common Law)

        73.     DHF repeats and re-alleges the allegations in the foregoing paragraphs of this

Complaint as if fully set forth herein.

        74.     DHF has advertised and promoted its cabinet hardware under the mark COSMAS

in the Commonwealth of Kentucky and in this District.




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        75.     DHF owns all right, title, and interest in and to the COSMAS mark and the goodwill

associated therewith in connection with cabinet hardware, including all common law rights in the

COSMAS mark.

        76.     Despite its knowledge of DHF’s rights in its COSMAS mark, Wayfair used the

COSMAS mark and near variants in connection with advertising and in the software code on the

Wayfair Sites, which were displayed throughout the United States, including in Kentucky.

        77.     Wayfair’s acts constitute common law unfair competition in violation of the

common law of Kentucky.

        78.     The aforesaid acts by Wayfair were with knowledge and in willful disregard of

DHF’s rights in its COSMAS mark. Wayfair’s acts have injured DHF in an amount of damages to

be proven at trial.

        79.     Wayfair’s acts of unfair competition have caused and will continue to cause

financial damage to DHF and irreparable injury for which DHF has no adequate remedy at law.

Wayfair’s acts have irreparably harmed DHF and will continue to harm DHF unless enjoined by

this Court.

                                    PRAYER FOR RELIEF

        WHEREFORE, DHF requests judgement against Wayfair as follows:

        1.      That Wayfair and any officers, agents, affiliates, servants, employees, and

attorneys, those persons in active concert or participation with Wayfair who receive actual notice

of the court’s order by personal service or otherwise, any other aliases or company names under

which Wayfair conducts or attempts to conduct business, and all persons, companies, and entities

acting on behalf of Wayfair be enjoined from, directly or indirectly, continuing their actions in

violation of the Lanham Act, and the common law in the Commonwealth of Kentucky, including:



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       A.      using the mark COSMAS or any variant or any colorable imitations thereof

(collectively, “COSMAS Variant Marks”);

       B.      purchasing the keyword COSMAS or any COSMAS Variant Marks from Google

AdWords and using COSMAS or any COSMAS Variant Marks in ad text;

       C.      using the mark COSMAS or any COSMAS Variant Marks in software code on the

Wayfair Sites such that a consumer search for COSMAS or any COSMAS Variant Marks

populates results for products that compete with products sold by DHF under its COSMAS

trademark;

       D.      promoting, offering for sale, or selling products and/or services using any of

COSMAS Variant Marks online and through any channels of trade now or hereafter developed;

       E.      doing any act or thing calculated or likely to cause confusion or mistake in the

minds of members of the public or the trade, or prospective purchasers of products offered on the

Wayfair Sites, as to the source of products and/or services marketed, advertised, promoted, sold,

or offered for sale by Wayfair;

       F.      doing any act or thing calculated or likely to deceive members of the public or trade,

or prospective purchasers, into believing that there is some affiliation, sponsorship, or connection

between Wayfair and DHF or that products sold on the Wayfair Sites are marketed, advertised,

promoted, sponsored, offered for sale, sold, by or otherwise affiliated with DHF or advertised or

sold with DHF’s authorization, consent, approval, or permission;

       2.      that Wayfair, in accordance with 15 U.S.C. § 1116(a), be directed to file with this

Court and serve upon DHF within thirty days after entry of the injunction a report in writing, under

oath, setting forth in detail the manner and form in which they have complied with the injunction;




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       3.      that DHF recover its actual damages sustained as a result of Wayfair’s wrongful

actions;

       4.      that Wayfair be required to account for and pay over to DHF all gains, profits, and

advantages realized as a result of Wayfair’s wrongful actions;

       5.      an award to DHF of trebled damages;

       6.      an award to DHF of pre-judgment and post-judgment interest;

       7.      an award to DHF of both the costs of this action and the reasonable attorneys’ fees

incurred by DHF in prosecuting this action;

       8.      a jury trial on all issues so triable; and

       9.      that DHF recover such further relief to which it may be entitled.

                                  DEMAND FOR JURY TRIAL

       DHF demands a trial by jury of all issues so triable.


Dated: November 27, 2019                   Respectfully submitted by,




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